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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

OSBALDO ]OSE-NICOLAS,
Plaintiff,

vs. Case No. 15-CV-964-N]R-DGW
NATHAN BERRY, W'ILLIAM QUALLS,
]USTIN SNELL, MATTHEW PURDOM,
AIMEE LANG,

Defendants.

URY VERDICT FORM

We, the jury, find as follows on the claims of Plaintiff Osbaldo lose-Nicolas
against the Defendants, Nathan Berry, William Qualls, ]ustin Snell, Matthew Purdom,
and Aimee Lang:

(*For each line, place an ”x” on the line for the person for whom you jind.*)

1. E.xcessive Force

 

For Plaintiff: For Defendant Berry: X
For Plain’dff: X For Defendant Qualls:

 

 

2. Failure to Intervene

 

 

 

For Plaintiff: >< For Defendant Berry:
For Plaintiff: X For Defendant Qualls:
For Plainti_ff: >< For Defendant Snell:

 

For Plaintiff: For Defendant Purdom: >§

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3. Denial of Adequate Meclical Care

 

 

 

 

 

 

For Plaintiff: )< For Defendant Berry:

For Plaintiff: X For Defenclant Qualls:

For Plaintiff: For Defendant Snell: X
For Plaintiff; For Defendant Purdom; X
For Plaintiff: X For Defendant Lang:

 

4. Wanton and Willful Conduct

 

 

 

 

 

 

For Plaintiff: X For Defendant Berry:

For Plaintiff: X For Defendant Qualls:

For Plaintiff: X For Defendant Snell:

For Plaintiff: For Defendant Purdom: X
For Plaintiff: >< For Defendant Lang:

 

(Please complete the following section ONLY if any of the above findings are in favor of Mr.
Nicolas. If all of the above jindings are in favor of all of the Defendants, go to page 4 and sign
and date this form.)

Compensatory_Damages:

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas compensatory damages in the
amount of:

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(Please complete the following section ONLY if you assess punitive damages against one or more
of the individual Defendants.)

Plaintiff’s Claims for Punitive Damages:

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas punitive damages against the
Defendant, Nathan Berry, in the amount of:

$ I,GOO.OO

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas punitive damages against the
Defendant, William Qualls, in the amount of:

$ <QOG;©OD. OD

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas punitive damages against the
Defendant, ]ustin Snell, in the amount of:

$ lO(D~ OO

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas punitive damages against the
Defendant, Matthew Purdom, in the amount of:

s @/

We, the jury, award Plaintiff Osbaldo ]ose-Nicolas punitive damages against the
Defendant, Aimee Lang, in the amount of:

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Dated:@,u`?)n,gj') )Lo ' ,2018.

